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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

MAGGIE LEWIS-BUTLER,                       :

             Plaintiff,                    :

       v.                                  :   Civil Action No. 18-2433 (CKK)

UNITED STATES OF AMERICA,                  :

             Defendant.                    :


                           STIPULATION OF DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties to this

action hereby stipulate to dismiss this action with prejudice pursuant to the parties’

settlement agreement executed in connection with this matter.



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Date: January 5, 2023
